1    Miles Woodlief (SBN124467)
     ArcherTM
2    775 East Blithedale Avenue
     Suite 514
3
     Mill Valley, California
4    phone: (415) 730-3032
     facsimile:(415) 366-2956
5    Attorney for Debtor and Debtor-in-Possession

6
                                UNITED STATES BANKRUPTCY COURT
7                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                         (Oakland Division)
8

9                                                    )
     In Re:                                          ) Chapter 11
10                                                   )
     Nutrition 53, Inc.                              ) Case No.: 4:23-bk-40997
11                                                   )
     Employer's Tax Identification (EIN) No. :       )
12   XX-XXXXXXX                                      )
                                                     )
13            Debtor
                                                     )
14
      NOTICE OF DEBTOR AND DEBTOR-IN-POSSESSION’S REQUEST FOR ORDER
       AUTHORIZING EXECUTION OF, AND PERFORMANCE UNDER, LICENSING
15                     AND DISTRIBUTION AGREEMENT
16
               TO ALL CREDITORS, THEIR ATTORNEYS OF RECORD, THE UNITED STATES
17
     TRUSTEE AND ALL OTHER PARTIES IN INTEREST: PLEASE TAKE NOTICE THAT
18
     Debtor and Debtor in possession Nutrition 53, Inc. (“Debtor”) has entered into a Distribution
19
     and License Agreement (“Agreement”) with Pro Performance Distribution, Inc. (“PPDI”) under
20
     which, among other things, PPDI is granted a limited license to purchase specific Products (as
21
     defined therein) from the Debtor for sale exclusively through Amazon.com.
22
               A complete copy of the Agreement was previously filed in the above-captioned case on
23

24
     August 16, 2023, as Exhibit A to the Declaration of Kristine Manlapaz, Docket No. 18-7. The

25
     Agreement does not require the Debtor to incur any out-of-pocket costs and requires payment of

     eighty-five percent of PPDI’s net sales’ income to the Debtor. Further, the Agreement contains


                                                     - 1
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1    an incentive provision that provides PPDI a small equity interest (up to 10% of total equity) in
2    the Debtor if specific sales goals are timely met.
3           The term of the Agreement is six months from the Effective Date (as defined in the
4    Agreement), and the Agreement may be renewed upon written notice.
5           This Agreement assures Debtor can maximize its operating income without expending
6    its own resources to obtain and market the product.
7           Counsel believes that the Agreement meets the requirements of 11 U.S.C Section
8    363(b)(1) and that the Agreement is fair and reasonable under the circumstances. Accordingly,
9    it is appropriate for the Debtor to enter into, and perform under, the Agreement with PPDI.
10          United States Bankruptcy Court for the Northern District of California Local Rule 9014-
11   1(b)(3)(a) prescribes the procedures to be followed with respect to this Notice, as follows:
12          Any objection to the requested relief, or a request for hearing on the matter, must
13   be filed and served upon the initiating party within 21 days of mailing the notice;
14          Any objection or request for a hearing must be accompanied by any declarations or
15   memoranda of law any requesting party wishes to present in support of its position;
16          If there is no timely objection to the requested relief or a request for hearing, the
17   court may enter an order granting the relief by default.
18          In the event of a timely objection or request for hearing, the initiating party will give
19   at least seven days written notice of the hearing to the objecting or requesting party, and to
20   any trustee or committee appointed in the case.
21

22
     Dated: September 5, 2023                      By: ________________________
23
                                                   Miles Woodlief (SBN124467)
                                                   ArcherTM
24                                                 775 East Blithedale Avenue
                                                   Suite 514
25                                                 Mill Valley, California
                                                   phone: (415) 730-3032



                                                      - 2
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1                                         PROOF OF SERVICE
2                   I, Miles Archer Woodlief, certify and declare as follows:
3                   I am over the age of 18 years, and not a party to this action. I maintain an office
     at 775 East Blithedale Avenue, Suite 514, Mill Valley, CA 94941, which is located in the county
4
     where the mailing described below took place.
5
                    I am readily familiar with the business practice at my place of business for
6    collection and processing of correspondence for mailing with the United States Postal Service.
     Correspondence so collected and processed is deposited with the United States Postal Service
7    that same day in the ordinary course of business.

8                    On September 5, 2023, at my place of business at Mill Valley, California, a copy
     of the forgoing was placed in the United States Postal Service in a sealed envelope, with postage
9    fully prepaid, addressed to:
10
     Altec Packaging, Inc
11
     c/o Stacie L. Pearson
     1711 Junction Ct., #350
12   San Jose, CA 95112

13   Amazon.com
     c/o Amazon Capital Services, Inc.
14   410 Terry Ave. North
     Seattle, WA 98109-5210
15
     Boos & Associates
16
     c/o Marissa Guzman
17
     5260 N. Palm Ave Suite 120
     Fresno, CA 93704-2216
18
     Boutin Jones Inc
19   c/o Boutin Jones Accounting
     555 Capitol Mall, Suite 1500
20   Sacramento, CA 95814

21   Central Transport
     c/o Samantha
22
     12225 Stephens Rd.
     Warren, MI 48089
23

24   Command Nutritionals
     c/o Cristina Coutinho
25   10 Washington Ave.
     Fairfield, NJ 07004



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1    Ergo Law
      c/o Rod Atherton
2    6870 W. 52nd Ave. Suite 203
     Arvada, CO 80002
3

4    Federal Express
     c/o US Collection Department
5    P.O. Box 7221
     Pasadena CA 91109-7321
6
     Franchise Tax Board
7    P.O. Box 942867
     Sacramento, CA 94267
8
     JAH Interests V, LLC
9
     c/o Jason Hall
10   2900 Daniel Ave
     Dallas, TX 75205
11
     IRS
12   P.O. Box 30507
     Los Angeles, CA 90030
13
     Mihir Mange
14   9662 Velvet Leaf Circle
     San Ramon, CA 94582
15

16
     Kristine Manlapaz
     3008 Oakraider Dr.
17   Alamo, CA 94507

18   Barbara Legrand
     1828 Ivanhoe Avenue
19   Lafayette CA 94549

20   Nebo Web Inc
     c/o Mercedes Oben
21
     108 Samat St. Ayala Alabang Village
     Muntinlupa, Philippines 1780
22

23   Jonathan Padilla
     1117 Ocean Ave., #308
24   San Francisco, Ca, 94112

25   Pinecrest Capital Partners
     c/o Barrett Kingsriter



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1    8235 Douglas Ave, Suite 550
     Dallas, TX 75225
2
     Proform Laboratories
3
     c/o Kaitlyn Walker
4    5001 Industrial Way
     Benicia, CA 94510 US
5
     Alexandra Romanowski
6    c/o Alexandra Romanowski
     1828 Ivanhoe Avenue
7    Lafayette CA 94549
8    Bill Romanowski
      c/o Bill Romanowski
9
     1828 Ivanhoe Avenue
10   Lafayette CA 94549

11   Dalton Romanowski
     c/o Dalton Romanowski
12   2523 NE Harvey Ln
     Bend OR 97703
13
     Smoothie King Franchises, Inc.
14   c/o Barbara Mayrand
     9797 Rombauer, Ste. 150
15
     Dallas, TX 75019
16
     Jon Douglas “JD” Swartz
17   40 Center St.
     San Rafael CA 94901
18
     Third Wind Holdings LLC
19   c/o Rogers Healy
     5550 Preston Road, Suite B.Dallas, TX 75205
20
     Total Quality Logistics
21
     c/o Anthony Gettys
     P.O. Box 634558
22
     Cincinnati, OH 45263-4558
23
     Wideumbrella
24   c/o Kristine Manlapaz
     3008 Oakraider Dr
25   Alamo, CA 94507




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1    and that envelope was placed for collection and mailing on that date following ordinary business
     practices.
2
                     I certify and declare under penalty of perjury under the laws of the State of
3
     California that the foregoing is true and correct. Executed on September 5, 2023.
4

5
     ______________________________
6
     Miles Archer Woodlief
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